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 2    Acting Under the Authority Conferred
      By Title 28, United States Code, Section 515
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 7    LAW OFFICE OF TELIA U. WILLIAMS
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 9    Tel.: (702) 835-6866
      telia@telialaw.com
10    Attorney for the Defendant,
      Kary Watson
11

12                               UNITED STATES DISTRICT COURT
13                                       DISTRICT OF NEVADA
14

15    UNITED STATES OF AMERICA,                           Case No. 2:17-cr-00124-JAD-EJY
16                                                        STIPULATION AND ORDER TO
                            Plaintiff,                    CONTINUE SENTENCING
17
                     vs.
18                                                        (THIRD REQUEST)
      KARY WATSON,
19                                                                ECF No. 481
                            Defendant.
20

21
            IT IS HEREBY STIPULATED AND AGREED by and between Telia U. Williams, Esq.,
22
     counsel for the defendant, Kary Watson, and Robert Knief, Esq., Assistant United States
23
     Attorney, counsel for the Government, that the Sentencing currently scheduled for July 13, 2020,
24
     at 3:00pm, be vacated and reset to a time no sooner that 120 days from July 13, 2020.
25
            This Stipulation is entered into for the following reasons:
26
                1. The defendant, Kary Watson, and his counsel, require additional time to await the
27
                   outcome and reasoning of the United States v. Figueroa-Beltran, No. 16-10388, *8
28
     Case 2:17-cr-00124-JAD-EJY Document 483 Filed 07/09/20 Page 2 of 4



 1                  (D.C. No. 2:15-cr-00176-KJD-GWF) (Order Certifying Question to Nevada

 2                  Supreme Court.)

 3               2. Mr. Watson and his counsel have conferred and believe that the outcome of the

 4                  aforementioned case will be critical to making appropriate sentencing argument,

 5                  and deciding which applicable favorable sentencing factors to focus on to

 6                  potentially mitigate punishment.

 7               3. Counsel for the Government agrees that awaiting the decision in the Nevada

 8                  Supreme Court case is worthwhile, and has no objection to this continuance.

 9               4. The defendant is in custody, but does not object to a continuance.

10               5. Denial of this request for continuance could result in a miscarriage of justice.

11               6. For all the above-stated reasons, the ends of justice would best be served by a

12                  continuance of the sentencing for one hundred twenty (120) days.

13               7. This is the third request for a continuance.

14   DATED: July 6, 2020
                                                           NICHOLAS TRUTANICH
15   LAW OFFICE OF TELIA U. WILLIAMS                       UNITED STATES ATTORNEY
16   By:     /s/ Telia U. Williams                         By:   /s/ Robert Knief
17
           Telia U. Williams, Esq.                         Robert Knief, Esq.
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                                                           Attorney for Plaintiff,
21         Attorney for Defendant,                         United States
           Kary Watson
22

23

24

25

26

27

28


                                                       2
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 1    NICHOLAS TRUTANICH
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      Attorney for the Defendant,
12    Kary Watson

13
                                 UNITED STATES DISTRICT COURT
14
                                          DISTRICT OF NEVADA
15

16
      UNITED STATES OF AMERICA,                          Case No. 2:17-cr-00124-JAD-EJY
17
                                                         ORDER
18                           Plaintiff,

19                   vs.

20    KARY WATSON,

21                           Defendant.

22
                                           FINDINGS OF FACT
23
            Based on the Stipulation of counsel, and good cause appearing therefore, the court finds
24
     that the Stipulation by, between, and among the United States, and defendant Kary Watson, is
25
     entered into for the following reasons:
26

27                  1. The defendant, Kary Watson, and his counsel, require additional time to await
28                      the outcome and reasoning of the United States v. Figueroa-Beltran, No. 16-

                                                     3
     Case 2:17-cr-00124-JAD-EJY Document 483 Filed 07/09/20 Page 4 of 4



 1                      10388, *8 (D.C. No. 2:15-cr-00176-KJD-GWF) (Order Certifying Question to

 2                      Nevada Supreme Court.)

 3                  2. Mr. Watson and his counsel have conferred and believe that the outcome of the

 4                      aforementioned case will be critical to their making appropriate sentencing

 5                      argument, and deciding which applicable favorable sentencing factors to focus

 6                      on to potentially mitigate punishment.

 7                  3. Counsel for the Government agrees that awaiting the decision in the Nevada

 8                      Supreme Court case is worthwhile, and has no objection to this continuance.

 9                  4. The defendant is in custody, but does not object to a continuance.

10                  5. Denial of this request for continuance could result in a miscarriage of justice.

11                  6. For all the above-stated reasons, the ends of justice would best be served by a

12                      continuance of the sentencing hearing.

13                  7. This is the third request for a continuance.

14
                                         CONCLUSIONS OF LAW
15

16          Denial of this request for continuance would deny the defendant, Kary Watson, the

17   opportunity to consider, with his counsel, appropriate factors to weigh in his sentencing

18   argument, and/or to consider additional favorable factors for his sentencing.
19
            As such, denial of this request for continuance could result in a miscarriage of justice.
20

21                                                ORDER

22
            IT IS HEREBY ORDERED that the sentencing currently scheduled for July 13, 2020
23
     at 3:00pm, be continued to November 9, 2020, at 2:00 p.m.
24

25

26          DATED this 9th day of July, 2020.
27                                                        ________________________________
                                                          UNITED STATES DISTRICT JUDGE
28


                                                      4
